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                                         IN THE UNITED STATE BANKRUPTCY COURT
                                           FOR THE SOUTHERN DISTRICT OF TEXAS
                                                    HOUSTON DIVISION

IN RE:                                                                 §          CASE NO. 4:15-31086
                                                                       §
UNIVERSITY GENERAL HEALTH                                              §          CHAPTER 11
SYSTEM, INC., et al.                                                   §
                                                                       §          JOINTLY ADMINISTERED
                             DEBTORS1                                  §
                                                                                                                     

          NOTICE OF HEARING ON MOTION FOR PAYMENT OF POST-PETITION
      ADMINISTRATIVE EXPENSE OWED TO COMMUNITY PATHOLOGY P.L.L.C.

              Please Take Notice that a hearing on the Motion for Payment of Post-Petition

Administrative Expense Owed to Community Pathology, P.L.L.C. by University General

Hospital, LP will be held on January 11, 2016 at 1:00 p.m. (Houston Time, CST) before the

Honorable Letitia Z. Paul, United States Bankruptcy Judge, 515 Rusk Avenue, 4th Floor,

Courtroom 401, Houston, Texas 77002.


DATED: December 17, 2015

                                                                           Respectfully submitted,

                                                                           FERNELIUS ALVAREZ SIMON PLLC

                                                                           By /s/ Kara Stauffer Philbin

                                                                               Graig J. Alvarez
                                                                               Attorney-in-Charge
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  The Debtors and the last four digits of their respective taxpayer identification numbers are as follows: University
General Health System, Inc. (2436), UGHS Autimis Billing, Inc. (3352), UGHS Autimis Coding, Inc. (3425),
UGHS ER Services, Inc. (6646), UGHS Hospitals, Inc. (3583), UGHS Management Services, Inc. (4100), UGHS
Support Services, Inc. (3511), University General Hospital, LP (7964), and University Hospital Systems, LLP
(3778).
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                                                         ATTORNEYS FOR
                                                         Baylor College of Medicine,
                                                         Baylor Pathology Consultants, and
                                                         Community Pathology, P.L.L.C.


                                CERTIFICATE OF SERVICE

         I hereby certify that all attorneys of record who have consented to electronic service are
being served this 17th day of December, 2015, with a true and correct copy of this document via
the Court’s CM/ECF system, and that this notice of hearing was otherwise served by ECF or
first-class United State mail on the attached service list.

                                                        /s/ Kara Stauffer Philbin
                                                           Kara Stauffer Philbin




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